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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 HP TUNERS LLC,

                                                 Case No. 1:18-cv-02071
                       Plaintiff,
        v.
                                                 Honorable John J. Tharp
 MICHAEL C. MCKNIGHT, an individual,
 and WHITEHORSE TUNING AND DYNO
 LLC, a Texas limited liability company,


                       Defendant.



                                    NOTICE OF MOTION

To:    Counsel of Record

       PLEASE TAKE NOTICE THAT on Thursday, August 16, 2018 at 9:00 a.m., Defendants

Michael C. McKnight and Whitehorse Tuning and Dyno LLC, by and through their undersigned

counsel, will appear before the Honorable John Tharp in the United States District Court for the

Northern District of Illinois, 219 S. Dearborn Street, Chicago, IL, Room 1419, and present their

FOURTH MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING, copies

of which are hereby served upon you.



  Dated: August 13, 2018                        Respectfully submitted,

                                                /s/ R. David Donoghue

                                                R. David Donoghue
                                                HOLLAND & KNIGHT LLP
                                                131 South Dearborn Street, 30th floor
                                                Chicago, IL 60603
                                                Tel: (312) 263-3600
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                                     Fax: (312)578-6666
                                     david.donoghue@hklaw.com


                                     Attorney for Michael C. McKnight and
                                     Whitehorse Tuning and Dyno LLC




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document entitled NOTICE OF MOTION

was filed electronically on this 13th day of August, 2018 in compliance with the General Order on

Electronic Case Filing, Section III(B)(1). As such, this document was served on all counsel who

are deemed to have consented to electronic service. Fed. R. Civ. P. 5(b)(2)(E) and Local Rule 5.9.


                                                            /s/ R. David Donoghue
                                                            R. David Donoghue
